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 Court-Appointed Receiver and Attorneys for Court-Appointed Receiver

                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH


  SECURITIES AND EXCHANGE
                                                       ORDER GRANTING THIRD
  COMMISSION,
                                                    INTERIM FEE APPLICATION FOR
                        Plaintiff.                    RECEIVER AND RECEIVER’S
                                                    PROFESSIONALS FOR SERVICES
            V.                                       RENDERED FROM JULY 1, 2017
                                                     THROUGH SEPTEMBER 30, 2017
  TRAFFIC MONSOON, LLC, a Utah Limited
  Liability Company, and CHARLES DAVID                        2:16-cv-00832-JNP
  SCOVILLE, an individual,
                                                          The Honorable Jill N. Parrish
                        Defendants.


          The matter before the Court is the Third Interim Fee Application for Receiver and

 Receiver’s Professionals for Services Rendered From July 1, 2017 Through September 30, 2017

 (the “Fee Application”) filed by R. Peggy Hunt, the Court-appointed Receiver (the “Receiver”),

 seeking the allowance of fees and expenses incurred by the Receiver, the Receiver’s counsel,

 Dorsey & Whitney LLP (“Dorsey”), and the Receiver’s accountants, Berkley Research Group

 (“BRG”), for the period of July 1, 2017 through September 30, 2017 (the “Application Period”)

 and authorization to pay all allowed fees and expenses from funds of the Receivership Estate on


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 an interim basis. No objections to the Fee Application have been filed.

          The Court has reviewed the Fee Application, all Exhibits thereto, the record in this case,

 and applicable law. The Court finds the fees and expenses requested for the Application Period are

 reasonable, necessary and beneficial. Based thereon, and for good cause appearing,

          IT IS HEREBY ORDERED that:

          (1)       The Fee Application is APPROVED;

          (2)       The fees and expenses of the Receiver and her professionals Dorsey and BRG are

 ALLOWED on an interim basis as set forth in the Fee Application;

          (3)       The Receiver is ALLOWED a claim in the total amount of $15,901.15 for fees;

          (4)       Dorsey is ALLOWED a claim in the amount of $21,028.00 for fees and $512.29

 for reimbursement of out-of-pocket expenses, for a total sum of $21,540.29;

          (5)       BRG is ALLOWED a claim in the amount of $127,643.50 for fees and $50.80 for

 reimbursement of out-of-pocket expenses, for a total sum of $127,694.30; and

          (6)       The Receiver is AUTHORIZED to pay all fees and expenses as allowed herein.

          DATED this ___ day of December, 2017.



                                                       BY THE COURT:



                                                       ____________________________________
                                                       The Honorable Jill N. Parrish
                                                       United States District Court




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